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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                         CASE NO: 8:09-cr-00349-T-30TGW

 ISAAC B. HERNANDEZ


  Order Granting in Part Defendant’s Motion for Prison-Term Reduction Under 18 U.S.C.
                         § 3582(c)(2) Based on USSG Amend. 782



        Before the Court is the Defendant’s Motion for Prison-Term Reduction under 18 U.S.C. §

 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG §

 1B1.10(d) (2014) (Doc.# 189). The motion requests this Court to grant the reduction without

 regard to the limitation in USSG § 1B1.10(e) that the release date may not be earlier than

 November 1, 2015. The motion is granted in part. The limitations in USSG § 1B1.10 are an

 appropriate constitutional exercise of the authority granted to the Sentencing Commission and are

 binding on this Court. See Dillon v. United States, 560 U.S. 817 (2010) and United States v.

 Colon, 707 F.3d 1255 (11th Cir. 2013). The sentence will be reduced pursuant to Amendment

 782, but not earlier than November 1, 2015, as required by USSG § 1B1.10(e).

        Having reviewed the facts in both the original presentence investigation report and the

 November 24, 2014 memorandum from the United States Probation Office in light of the factors

 in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed by

 a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 28

 months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the practical difficulties
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 of a possible release date on Sunday, November 1, 2015, the effective date of this order is

 November 2, 2015.

        Therefore:

        (1)    The Court grants in part the defendant’s motion, Doc. #189.

        (2)    The Court reduces the defendant’s prison term from 108 to 87 months or time

               served, whichever is greater.

        (3)    The effective date of this order is November 2, 2015.

        DONE and ORDERED in Chambers, Tampa, Florida on this 17th day of February, 2015.




 Copies furnished to:

 Counsel of Record
 Magistrate Judge
 United States Marshals Service
 United States Probation Office
 United States Pretrial Services
